         Case 1:20-cv-04809-TCB Document 47 Filed 12/03/20 Page 1 of 1

                           UNITED STATES DISTRICT COURT
                                  NORTHERN DISTRICT OF GEORGIA
                                    2211 UNITED STATES COURTHOUSE
                                       75 TED TURNER DRIVE, SW
                                     ATLANTA, GEORGIA 30303-3361
JAMES N. HATTEN                                                                    DOCKETING SECTION
DISTRICT COURT EXECUTIVE                                                            404-215-1655
 AND CLERK OF COURT
                                        December 3, 2020

Clerk of Court
U.S. Court of Appeals, Eleventh Circuit
56 Forsyth Street, N.W.
Atlanta, Georgia 30303

       U.S.D.C. No.: 1:20-cv-4809-TCB
       U.S.C.A. No.: 00-00000-00
       In re:        Coreco Jaqan Pearson et al v. Brian Kemp et al

        Enclosed are documents regarding an appeal in this matter. Please acknowledge
receipt on the enclosed copy of this letter.

   X
        Certified Notice of Cross Appeal, Docket Sheet, Judgment and/or Order appealed
        enclosed.

   X    This is not the first notice of appeal. Other notices were filed on: 12/1/20; USCA
        Case No. 20-14480-RR.

        There is no transcript.

   X    The court reporter is Lori Burgess.

        There is sealed material as described below: .

        Other: .

   X    Fee paid electronically on 12/1/20. (Receipt# AGANDC-10445305)

        Appellant has been leave to appeal in forma pauperis.

        This is a bankruptcy appeal. The Bankruptcy Judge is .

        The Magistrate Judge is .

   X    The District Judge is Timothy C. Batten, Sr.

        This is a DEATH PENALTY appeal.

                                                              Sincerely,

                                                              James N. Hatten
                                                              District Court Executive
                                                              and Clerk of Court

                                                        By: /s/P. McClam
                                                            Deputy Clerk
Enclosures
